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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


VCAN BIO USA CO., LTD.

                          Plaintiff,
          v.                                          Civil Action No.1:19-cv-10180

KIRSTJEN M. NIELSEN, ET AL.

                          Defendants.



                              NOTICE OF VOLUNTARY DISMISSAL

          NOTICE IS HEREBY GIVEN that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff

Vcan Bio USA Co., Ltd. (“Vcan”), by and through undersigned counsel, voluntarily dismisses the

above-captioned action in its entirety, without prejudice, against defendants.

          Such dismissal is proper and no court order is required as this notice is filed before the

opposing party has served either an answer or a motion for summary judgment. See Fed. R. Civ.

P. 41(a)(1)(A)(i).

                                                       Respectfully submitted,

                                                       VCAN BIO USA CO., LTD.

                                                       By its Attorneys,

                                                       NIXON PEABODY LLP

Dated: March 7, 2019                                   /s/ Nathan P. Warecki
                                                       W. Scott O’Connell (BBO# 559669)
                                                       Nathan P. Warecki (BBO# 687547)
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on March 7, 2019.

                                                      /s/ Nathan P. Warecki
                                                      Nathan P. Warecki




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